        Case 1:13-cr-00136-DAD-BAM Document 364 Filed 02/23/15 Page 1 of 2


1    BENJAMIN B. WAGNER
     United States Attorney
2    GRANT B. RABENN
     Assistant United States Attorney
3    2500 Tulare Street, Suite 4401
     Fresno, CA 93721
4    Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
5
     Attorneys for the
6      United States of America
7

8                        IN THE UNITED STATES DISTRICT COURT

9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          ) 1:13-CR-00136-AWI-BAM-5
                                        )
12                      Plaintiff,      ) ORDER FOR FORFEITURE MONEY
                                        ) JUDGMENT
13          v.                          )
                                        )
14   CHANROU YATH,                      )
                                        )
15                      Defendant.      )
                                        )
16                                      )
17          Based upon the United States’ Application for Forfeiture Money

18   Judgment and the plea agreement entered into between plaintiff United

19   States of America and defendant Chanrou Yath,

20          IT IS HEREBY ORDERED that

21          1.   The defendant Chanrou Yath shall forfeit to the United

22   States the sum of $712,792.49 and that the Court imposes a personal

23   forfeiture money judgment against defendant in that amount.

24          2.   Any funds applied towards such judgment shall be forfeited

25   to the United States of America and disposed of as provided for by

26   law.    Prior to the implementation of sentence, any funds delivered to

27   the United States to satisfy the personal money judgment shall be

28   seized and held by the Internal Revenue Service, in its secure

29
                                            1        Order for Forfeiture Money Judgment
30
          Case 1:13-cr-00136-DAD-BAM Document 364 Filed 02/23/15 Page 2 of 2


1    custody and control.

2          3.     This Order of Forfeiture shall become final as to the

3    defendant at the time of sentencing and shall be made part of the

4    sentence and included in the judgment.

5          4.     The United States may, at any time, move pursuant to Rule

6    32.2(e) to amend this Order of Forfeiture to substitute property

7    having a value not to exceed $712,792.49 to satisfy the money

8    judgment in whole or in part.

9
     IT IS SO ORDERED.
10

11   Dated: February 23, 2015
                                       SENIOR DISTRICT JUDGE
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

29
                                              2        Order for Forfeiture Money Judgment
30
